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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION

   _________________________________/

   This Document Relates to the Non-Federal Securities Actions

                                               ORDER

            THIS CAUSE came before the Court on Plaintiffs’ Unopposed Motion for Extension of

   Time [ECF No. 334], for a 14-day extension of the schedule set forth in the June 3, 2021 Order

   [ECF No. 323] for filing master complaints and joint motions to dismiss in the Robinhood, Other

   Broker, and Antitrust Tranches of this multidistrict litigation. The Court has reviewed the

   Motion and being fully advised, it is

            ORDERED AND ADJUDGED that for good cause shown, the Unopposed Motion is

   GRANTED as follows:

            1.    The deadline for Plaintiffs to file master complaints is extended to July 26, 2021.

            2.    Defendants’ joint motions to dismiss are due on August 30, 2021.

            3.    Plaintiffs’ responses in opposition to Defendants’ joint motions to dismiss are due

   on September 21, 2021.

            4.    Defendants’ replies to Plaintiffs’ responses are due on October 5, 2021.
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                                                CASE NO. 21-2989-MDL-CIV-ALTONAGA


         DONE AND ORDERED in Miami, Florida, this 8th day of July, 2021.



                                           _______________________________________
                                           CECILIA M. ALTONAGA
                                           CHIEF UNITED STATES DISTRICT JUDGE

   cc:   counsel of record
         pro se parties




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